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EXHIBIT 16
2:17-cv-00194-kjd Document 140-18

| Wit
DATE:

From: Daniel P. Herrick [Daniel.P.Herrick@hitchcock.org] 7 Sunnie Donath, APR: LCR
Sent: 5/12/2017 3:07:51 PM siuaminammeemmnoe sie cd
To: Edward J. Merrens {[Edward.J.Merrens@hitchcock.org] "
Subject: Re: REI and Misty

Ed, I am not including Leslie in this response. Based on my observations and interactions, Misty has been the
biggest driver to 'the dysfunction within REL The personal relationship that Leslie has with Misty contributed
significantly to this not being addressed in an appropriate and timely manner. There is no question regarding
competence however I have also received unsolicited input from a surgeon who has been here for a long time
thinking out loud that it's about time. It will be interesting to see how Leslie responds.

Sent from my iPhone

On May 12, 2017, at 14:26, Edward J. Merrens <Edward.J. Merrens@hitchcock.org> wrote:

Leslie,

Iam getting inundated with heartfelt and long emails wondering why Misty can't stay on to do her ultrasound
complex operative and teaching role even if we end REI. | suspect that you considered this in the evaluation the
program and your knowledge of Misty. I just need to know how better to answer this question.

Edward J. Merrens, MD, MS

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